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AO 450 (SCD 04/2010) Judgment in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of South Carolina


                          Abel Diaz                                 )
                           Petitioner                               )
                          v.                                        )       Civil Action No.       4:19-cv-2423-BHH
                Warden FCI Bennettsville                            )
                          Respondent                                )

                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the petitioner (name)                  recover from the respondent (name)               the amount of                dollars ($   ),
which includes prejudgment interest at the rate of            %, plus postjudgment interest at the rate of          %, along with
costs.
’ the petitioner recover nothing, the action be dismissed on the merits, and the respondent (name)
recover costs from the petitioner (name)                             .
 other: The petition is dismissed without prejudice and without requiring the respondent to file a return.


This action was (check one):
’ tried by a jury, the Honorable                            presiding, and the jury has rendered a verdict.

’ tried by the Honorable                          presiding, without a jury and the above decision was reached.

 decided by the Honorable Bruce Howe Hendricks, United States District Judge who adopted the Report and
Recommendation of the Honorable Thomas E. Rogers, III, United States Magistrate Judge.

                                                                            ROBIN L. BLUME
Date: October 19, 2020                                                     CLERK OF COURT


                                                                                           s/Debbie Stokes
                                                                                        Signature of Clerk or Deputy Clerk
